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                     IN THE UNITED STATES DISTRICT COURT
                                                                              AUG 8 AM 11 : as
                   FOR THE SOUTHERN DISTRICT OF GBORGLZ 9

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       CR 109-073
                                               )
LATRTA GRENISE SMITH                           )


                                          ORDER

       Defendant Latria Grenise Smith filed a "Preliminary Motion to Suppress," a

"Preliminary Motion to Dismiss," and a "Preliminary Motion to Sever." In the "Preliminary

Motion to Suppress," Defendant requests an order that will suppress "evidence, substances,

tangible items, including any statements made by the Defendant to government agents and

any oral or wire communications intercepted illegally by wiretap or other electronic device,

which was obtained in violation of the Defendant's Fourth, Fifth or SixthAmendment rights,

or in contravention of 18 U.S.C. Section 2510 et sea. " (Doc. no. 136, p. 1). Notably,

although there is no specific factual detail supporting the motion, Defendant requests that the

Court hold an evidentiary hearing on the motion (j), presumably to develop sufficient facts

to support Defendant's general allegations. In the "Preliminary Motion to Dismiss" and the

"Preliminary Motion to Sever," Defendant concedes that she has identified no grounds for

dismissal or severance, but she filed the motions "to preserve [her] right to argue for"

dismissal of the indictment or any counts therein and/or severance of Defendants or counts

in the indictment should legitimate grounds become known after the due date for filing

pretrial motions. (Doc. nos. 135, 145).
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        On June 26,2009, the Court entered an Order extending the standard 10-day deadline

for filing pre-trial motions for all Defendants in this multi-defendant drug conspiracy case.

(Doc. no. 56). The Court reasoned that an extension until August 10, 2009 to file motions

was appropriate because of the voluminous discovery that included over 2,400 pages of

documentary evidence, ten compact discs containing recordings of numerous intercepted

wire communications, and one compact disc containing photographs from searches. (Ld. at

 1). However, in granting the extension, the Court stated, "All counsel are specifically

cautionedthat because of this extension, preliminary' motions to suppress, sever, ordismiss

will not be looked upon favorably. All motions must comply with Loc. Crirn. R. 12.1,

 including the provisions concerning affidavits and citations to record evidence." (I4 at 2).

 These preliminary motions filed by Defendant on August 7, 2009 in no way comply with

 Loc. Crim. R. 12. 1, as they were filed without an affidavit in support from Defendant and

 without any evidentiary support, despite the fact that the extensive discovery described above

has already been provided by the government. Therefore, these motions are NULLITIES.

 (Doc, nos. 135, 136, 145). Should Defendant desire to file aparticullarized motion at atime

 subsequent to this Order, she must adequately explain her failure to timely file the same.'

        Defendant also filed a motion to preserve evidence, including rough notes of agents.

 (Doc. no. 140). Defendant does not demand disclosure or production of this evidence,

 merely preservation. While this material is not generally discoverable, it may later during




        'A motion may not be filed outside the deadlines set by the Court except by leave of
 Court upon a showing of cause. United States v. Smith, 918 F.2d 1501, 1509 (1 lth Cir,
 1990); see Fed. R. Crim. P. 12(c), (e).

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trial have probative value for purposes of impeachment. The small inconvenience to the

government is outweighed by Defendant's interest in a fair trial and the possibility that

among the evidence there could be an item later needed for use at trial. The motion is

GRANTED. The government is required to preserve all evidence in this case.

        Lastly, Defendant filed a motion "Motion to Inspect, Examine, and Test Physical

Evidence."' (Doc. no. 144). This motion is GRANTED, subject to the following terms and

conditions:

        (a) Counsel for Defendant must determine which items of physical evidence he

wishes to have tested or examined by experts of his own choosing and submit a list of such

items to the government;

        (b) Counsel for Defendant shall confer with the goverrirnent's attorney to work out

the availability of substances or materials to be tested;

        (c) Any testing by experts on behalf of Defendant must be completed within fifteen

(15) days of the date of this Order;

       (d) A representative of the government qualified in the field of such testing shall be

present to observe the testing procedures and technique used by Defendant's experts. In

addition, testing shall not be performed without the presence of the government's technical

observer; and




       2The Court is aware that Defendant has various other pre-trial and discovery motions
pending. Those motions will be addressed, as necessary, by separate order.

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        (e) A copy of the test or laboratory results obtained by Defendant's experts shall be

served upon the government's representative not later than five (5) days after conducting the

actual test.

        SO ORDERED this ____           of August, 2009, at Augusta, Georgia.


                                                    111),
                                                 W. LEON BAI3FIE D
                                                 UNITED STATES MAGIATE JUDGE




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